                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 15-35133-rld
Elbert G Garboden                                                                                          Chapter 7
Sherry L Garboden
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Feb 09, 2016
                                      Form ID: NOHITH                    Total Noticed: 21

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 11, 2016.
db/jdb         +Elbert G Garboden,    Sherry L Garboden,    12054 Chapin Court,   Oregon City, OR 97045-3989
smg            +Oregon Attorney General,    Department of Justice,    1162 Court St NE,   Salem, OR 97301-4096
smg            +US Attorney General,    Department of Justice,    10th & Constitution NW,
                 Washington, DC 20530-0001
cr             +CitiMortgage, Inc.,    C/O ALDRIDGE PITE, LLP,    4375 Jutland Drive, Suite 200,
                 P.O. Box 17933,     San Diego, CA 92177-7921
cr             +Wells Fargo Bank N.A. dba Wells Fargo Dealer Servi,     P.O. Box 3569,
                 Rancho Cucamonga, CA 91729-3569
101096465       Bank of America,    PO Box 650070,    Dallas, TX 75265-0070
101096466       Bank of America,    PO Box 851001,    Dallas, TX 75285-1001
101096468       Citi Mortgage,   PO Box 689196,    Des Moines, IA 50368-9196
101096469       Firestone/Credit First NA,    PO Box 81344,    Cleveland, OH 44188-0344
101096470       Home Depot Credit Services,    PO Box 78011,    Phoenix, AZ 85062-8011
101096474      +OnPoint Credit Union,    PO Box 3750,    Portland, OR 97208-3750
101096476       Wells Fargo Card Services,    PO Box 30086,    Los Angeles, CA 90030-0086
101096477       Wells Fargo Dealer Services,    PO Box 25341,    Santa Ana, CA 92799-5341

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: bankruptcy.revenue@oregon.gov Feb 10 2016 00:50:01      ODR Bkcy,
                 955 Center NE #353,   Salem, OR 97301-2555
smg            +E-mail/Text: usaor.bankruptcy@usdoj.gov Feb 10 2016 00:51:05      US Attorney,
                 1000 SW 3rd Ave #600,   Portland, OR 97204-2936
cr             +E-mail/Text: ZyCredit.A.User@lesschwab.com Feb 10 2016 00:50:45
                 Les Schwab Tire Centers of Portland Inc,   POB 5350,   Bend, OR 97708-5350
101096467       E-mail/PDF: gecsedi@recoverycorp.com Feb 10 2016 00:52:40      Chevron/Synchrony Bank,
                 PO Box 530950,   Atlanta, GA 30353-0950
101096471       E-mail/Text: cio.bncmail@irs.gov Feb 10 2016 00:50:16     Internal Revenue Service,
                 PO Box 7346,   Philadelphia, PA 19101-7346
101096472      +E-mail/Text: ZyCredit.A.User@lesschwab.com Feb 10 2016 00:50:45      Les Schwab,   PO Box 5350,
                 Bend, OR 97708-5350
101096473      +E-mail/Text: bankruptcy.revenue@oregon.gov Feb 10 2016 00:50:01      ODR,
                 955 Center Street, NE Room 353,   Attn: Bankruptcy Unit,    Salem, OR 97301-2555
101096475       E-mail/PDF: gecsedi@recoverycorp.com Feb 10 2016 00:52:40      Phillips 66 Co/SYNCB,
                 PO Box 530942,   Atlanta, GA 30353-0942
                                                                                             TOTAL: 8

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 11, 2016                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 9, 2016 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                                      Case 15-35133-rld7              Doc 23       Filed 02/11/16
NOHITH (1/12/15) rdl               UNITED STATES BANKRUPTCY COURT                         U.S. BANKRUPTCY COURT
                                            District of Oregon                             DISTRICT OF OREGON
                                                                                                  FILED
In re                                           )
 Elbert G Garboden                              ) Case No. 15−35133−rld7                      February 9, 2016
 Sherry L Garboden                              )                                        Clerk, U.S. Bankruptcy Court
Debtor(s)                                       )
                                                ) NOTICE OF                                     BY rdl DEPUTY
                                                ) TELEPHONE HEARING
                                                )

NOTICE IS GIVEN THAT:

1. A TELEPHONE HEARING, at which testimony will not be received, will be held:

    DATE: 4/12/16 TIME: 10:00 AM          RE: Motion to Settle and Compromise And Order and Notice Thereon
                                            Hearing Scheduled for 04/12/2016 at 10:00 AM by Telephone
                                            Hearing. (rdl)
                          Call in Number: (888) 684−8852 Access Code: 5870400



2. Each participant must also comply with each hearing requirement listed below. [Note: If you have problems
   connecting, call the court at (503) 326−1500 or (541) 431−4000.]

    YOU ARE FURTHER NOTIFIED that if you have any questions, you should see your attorney
    immediately. If you do not have an attorney and need help in finding one, you may call the Oregon State
    Bar's Lawyer Referral Service at (503) 684−3763 or toll−free in Oregon at (800) 452−7636.


                                   TELEPHONE HEARING REQUIREMENTS

Participants MUST COMPLY WITH EACH REQUIREMENT listed below:

    a. You must call in and connect to the telephone hearing line or personally appear in the judge's
       courtroom no later than the hearing time above. The court will not call you.

    b. You may be asked to call again from another phone if your connection is weak or creates static or
       disruptive noise.

    c. Please mute your phone when you are not speaking. If you do not have a mute function on your phone,
       press *6 to mute and *6 again to unmute if you need to speak. Do not put the court on hold if it will
       result in music or other noise. If available, set the phone to "Do Not Disturb" so it will not ring during the
       hearing.

    d. When it is time for you to speak, take your phone off the "speaker" option to minimize background
       noise. Position the telephone to minimize paper rustling. Do not use a keyboard or talk with others in
       the room. Be aware that telephone hearings may be amplified throughout the courtroom.

    e. Do not announce your presence until the court calls your case. Simply stay on the line, even if there is
       only silence, until the judge starts the hearings, and then continue to listen quietly until your case is
       called.

    f. Whenever speaking, first identify yourself.

    g. Be on time. The judge may handle late calls the same as a late appearance in the courtroom.
                                                                               Clerk, U.S. Bankruptcy Court




                              Case 15-35133-rld7         Doc 23      Filed 02/11/16
